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                                                                                  Exhibit 5




                               KANSAS BOARD OF REGENTS
                                       MINUTES
                                    March 17-18, 2021

The March 17, 2021, meeting of the Kansas Board of Regents was called to order by Chair Bill
Feuerborn at 1 :30 p.m. The meeting was held in the Board Office located in the Curtis State Office
Building, 1000 S.W. Jackson, Suite 520, Topeka. Proper notice was given according to law.

MEMBERS PRESENT:                      Bill Feuerborn, Chair
                                      Cheryl Harrison-Lee, Vice Chair
                                      Shane Bangerter
                                      Ann Brandau-Murguia
                                      Mark Hutton
                                      Shelly Kiblinger
                                      Jon Rolph
                                      Allen Schmidt
                                      Helen Van Etten

ANNOUNCEMENT
Chair Feuerborn stated that due to the Shawnee County emergency order issued March 8 and its
limitations on mass gatherings of more than 25 people, today's meeting is being conducted in a
quasi-virtual format, with members of the Board, a few Board staff, and university and college
CEOs attending in person. Other Board staff and all university staff are participating remotely, and
the public is accessing the meeting via live broadcast on YouTube. The Board meeting is being
conducted pursuant to the Attorney General's regulation for quasi-virtual meetings. He asked all
participants to place their microphones on mute when they are not speaking to allow listeners and
observers to hear the meeting unimpeded. Chair Feuerborn stated that participants should ask to
be recognized if they have a question or comment and when recognized, the participant should
state their name and title so he or she can be identified by the audience. Chair Feuerborn noted for
each action item, a roll call vote would be taken to be clear how each Regent has voted. However,
a roll call vote will not be taken for the approval of the minutes and no motion is needed to adjourn
the meeting. It was also noted that there will be no opportunity for public comment during this
meeting and there will be an executive session toward the end of the meeting. Chair Feuerborn
explained the process to be used for the executive session.

PLEDGE OF ALLEGIANCE
The Pledge of Allegiance was recited.

APPROVAL OF MINUTES
Regent Van Etten moved that the minutes of the February 17, 2021 meeting be approved.
Following the second of Regent Rolph, the motion carried.

GENERAL REPORTS
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REPORT FROM CHAIR
Chair Feuerborn welcomed everyone and noted that the restrictions related to the pandemic have
loosened, which has allowed the majority of the Board to meet in-person in Topeka. He hopes the
virus count continues to decline so that future Board meetings can return to a normal format. Chair
Feuerborn then announced that the President and CEO report will be presented by President
Flanders later in the agenda because he is currently presenting testimony to a legislative committee.

REPORT FROM SYSTEM COUNCIL OF PRESIDENTS
President Rittle presented the report for the System Council of Presidents. The Council received
information on strategies to increase the College Going Rate, which has declined for recent years
in Kansas. One initiative that is being implemented is increasing the number of students who
complete the Free Application for Federal Student Aid (F AFSA) form. The Board received
information on the strategies tied to this initiative last month, which included the FAFSA
recognition program and FAFSA completion events. President Rittle noted that the Council asked
for the FAFSA completion data to be broken down by ethnicity and/or subpopulations so that they
have a better understanding of the environment in Kansas. The Council then received a report
from the System Council of Chief Academic Officers on Advanced Placement Exams and transfer
and articulation. The last item the Council discussed was the initiative to close the equity gaps in
the higher education system. The initiative is a part of the Board's strategic plan, Building a
Future. The Council is interested in identifying best practices to reduce the equity gaps, and it
was noted that President Flanders along with several other institutional leaders have reached out
to Georgia State University's National Institute for Student Success for more information on how
we might implement best practices learned at Georgia State University ..

INTRODUCTIONS
Chancellor Girod introduced the University ofKansas's new Chief Financial Officer, Jeff DeWitt,
and Interim Athletic Director, Kurt Watson.

REPORT FROM PRESIDENT AND CEO
President Flanders reported that the Board received a Grant Award Notification from the U.S.
Department of Education under the Governor's Emergency Education Relief (GEER) Fund round
two program in the amount of $11. 7 million. President Flanders is recommending these funds be
spent on targeted initiatives tied to the Board's strategic plan - $5 million to address equity gaps,
$4.5 million to address student well-being, $2 million to address the College Going Rate, and
$30,000 to increase open educational resources (OER). However, President Flanders noted the
Board office is still waiting on guidance to determine exactly how the funds can be spent.
Additionally, President Flanders reported that in the FY 2021 budget, the Board was appropriated
$20,000 for the "Governor's Scholars Program." Last year, these funds were awarded to the four
community colleges with the highest student success index. This year, the funds will be awarded
to the four technical colleges with the highest student success index - Salina Area Technical
College, Flint Hills Technical College, North Central Kansas Technical College, and Washburn
Tech. Each college will receive $5,000 to award five Governor's Scholarships to students with
financial need who are enrolled at the colleges. He noted this award is a great opportunity to
provide some students with financial assistance.
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       RAZE BUILDING - KSU
       Kansas State University received approval to raze a storage shed located at 2209
       Agronomy Field Road (building #36700-00555) and a farm equipment storage shed
       located at 2305 Agronomy Central Road (building #36700-00529). The buildings
       are on the Agronomy farm north of Kimball A venue and tearing them down will
       allow the City of Manhattan to construct a new access road, which was
       recommended by a Traffic Improvement Study conducted by the City of Manhattan
       in 2014. The cost to raze the two buildings, the replacement value of the existing
       buildings and the new access road will be funded from the City's road improvement
       project.

       Technical Authority

       REALIGNMENT OF WELDING PROGRAM
       The revisions to the Welding Technology program alignment were approved.

                       (New Alignment Map filed with Official Minutes)

       EXCEL IN CTE FEES FOR DODGE CITY COMMUNITY COLLEGE
       The Excel in CTE Fees for Dodge City Community College's Home Health Aide
       program were approved.

                                (Fees filed with Official Minutes)

CONSIDERATION OF DISCUSSION AGENDA

Academic Affairs

LOW ENROLLMENT PROGRAMS - PSU AND ESU
Vice President Archer stated that Emporia State University and Pittsburg State University have
completed their internal reviews of their low-enrollment programs. He introduced Provost Cordle
and Provost Smith to present their respective university's recommendations. He also reminded
the Board that under the strategic program alignment policy, the Board decides the final outcome
of these programs.

Provost Cordle stated that Emporia State University reviewed 13 programs under this process. He
noted that Music Education was discontinued as a separate program several years ago but is
currently on the list because ESU is teaching out the remainder of the students who are enrolled in
it. The Biochemistry and Molecular Biology program has no costs associated with it because its
courses are offered by the Biology and Chemistry programs. Provost Cordle stated the program
does not attract a lot of students, but it's a great option for the ones who choose it, which is why
ESU recommends continuing it. Physical Sciences is another program that does not cost the
University anything to offer because all ofits required courses are offered by other programs. ESU
recommends continuing the program. Health Education is a second licensure option for Physical
Education majors. It does have some instructional costs, but the courses generate enough tuition
and fee revenue to cover all but $200 of the cost. Provost Cordle stated that ESU recommends
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merging Health Education with the Physical Education program, which should gain some
efficiencies. Business Education is a teacher licensure program that does generate some revenue
for the University. ESU recommends continuing the program. Provost Cordle then reviewed the
following six programs: 1) Chemistry, 2) Economics, 3) Modern Languages, 4) Earth Science, 5)
History, and 6) Political Science. Each of these programs have a small number of majors but they
are productive programs that generate net revenue for the University because they teach a lot of
general education courses. The University recommends continuing all six programs. Theatre is a
big part of the cultural life of the campus and the community, but it is expensive to offer. Provost
Cordle stated he has never been associated with a Theatre program anywhere that generated net
revenue, but private donors do give to the program. ESU recommends continuing the program
and will continue to review its costs and funding as a part of ESU's comprehensive budget
reduction process. Physics does not attract many majors, but it is an important degree for society.
Provost Cordle stated that the University wants to continue to review this program as part of its
comprehensive budget reduction process. Provost Cordle stated that ESU's comprehensive budget
reduction process is currently underway and that the University must achieve $4,700,000 in
permanent budget savings. Significant cuts will take place in academic programs, but most of
those savings will come from programs that are not being reviewed under this process.

Provost Smith reported that since 2009, Pittsburg State University has discontinued 52 programs,
certificates, minors, and emphases. Under the Board's program review process, PSU looked at 25
programs. Pittsburg State is recommending the following programs be discontinued: Graphic
Design; French Language Teacher Education; Psychology Teacher Education; Spanish Language
and Literature; Spanish Language Teacher Education; Biology Teacher Education; Chemistry
Teacher Education, Physics Teacher Education; Family and Consumer Science/Home Economics
Teacher Education; Mathematics Teacher Education; Teacher Education and Professional
Development, Specific Subject Areas, Other; and Clinical Laboratory Science/Medical
Technology/Technologist. Provost Smith stated that many of these programs have already been
discontinued or are currently in the process of elimination. He also noted that students enrolled in
these programs will be allowed to finish their degrees. PSU recommends continuing the following
academic support programs: General Economics, General Foreign Languages and Literatures,
Geography, General Music Performance, General Physics, General Political Science and
Government, and General Sociology. For General Mathematics and General History, PSU
recommends discontinuing the Bachelor of Arts degrees and continuing the Bachelor of Science
degrees. PSU recommends continuing its two interdisciplinary and coordinating programs - Multi-
/Interdisciplinary Studies and Polymer Chemistry. Provost Smith stated that PSU' s Interior Design
program was started in 2016 and has been growing in enrollment each year. Since this is a new
program, PSU recommends continuing it. The International Business program allows students to
develop and understand business tactics and strategies as they relate to a changing international
marketing place. Provost Smith stated that the faculty are evaluating this program and therefore,
PSU recommends monitoring it.

Regent Kiblinger moved to approve the recommendations from Emporia State University and
Pittsburg State University. Regent Schmidt seconded. Regent Hutton stated that there seems to
be a lot of programs that feed the core curriculum and wants to know if the universities need that
many options to satisfy the credit hour requirements. President Flanders stated that the Board may
want to discuss how to make the review process at the Board level more efficient and believes this
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could be a Board retreat topic. He noted that Vice President Archer and the Provosts are the subject
matter experts and need to be part of the discussion. Regent Hutton stated that under program
costs, the universities are only listing the total salaries and benefits attached to the program and
noted the full cost of a program would also include the facility operational expenses. He wanted
to know if those costs could be calculated into the total cost of the program. Regent Harrison-Lee
believes this would be a good retreat topic. On a roll call vote, the following Regents voted
affirmatively to adopt the motion: Regent Harrison-Lee, Regent Bangerter, Regent Murguia,
Regent Hutton, Regent Kiblinger, Regent Rolph, Regent Schmidt, Regent Van Etten, and Regent
Feuerborn. The motion carried.

                                 (Reports filed with Official Minutes)

AMENDMENTS TO NEW ACADEMIC UNITY AND ACADEMIC PROGRAMS POLICY
Vice President Archer presented the proposed amendments to the New Academic Units and
Academic Programs policy. The Board Academic Affairs Standing Committee determined it was
necessary to amend the policy to ensure the colleges have an opportunity to provide comments
when a university wants to offer an associate degree. Regent Van Etten moved to approve the
policy amendments. Regent Kiblinger seconded. On a roll call vote, the following Regents voted
affirmatively to adopt the motion: Regent Harrison-Lee, Regent Bangerter, Regent Murguia,
Regent Hutton, Regent Kiblinger, Regent Rolph, Regent Schmidt, Regent Van Etten, and Regent
Feuerborn. The motion carried. The following amendments were adopted:

Chapter II

A. ACADEMIC AFFAIRS

    7. NEW ACADEMIC UNITS AND ACADEMIC PROGRAMS

        d. Approval of New Academic Program Proposals

            1.   Overview

                 (1) When the Board considers the establishment of a new degree program or major,
                 information regarding its need, quality, cost and means of assessment become
                 paramount. The minimization of unnecessary program duplication is a high priority
                 of the Kansas Board of Regents.

                 (2) State universities must submit a complete program proposal to beaf4 Board staff
                 and enter the proposed program into the Program Inventory Database. Once beaFEI-
                 Board staff receives a complete program proposal and the program is entered into
                 the Program Inventory Database, the proposal will be available electronically for
                 institutions to view. All institutions shall be automatically notified of the proposed
                 program by email through the Program Inventory Database. If a state university
                 wishes to express concerns about a proposed associate, baccalaureate, masters, or
                 doctoral degree, the president or chief academic officer shall address such concerns
                 in writing to the Board staff within 45 calendar days of notification of the proposed
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              program. Institutions with concerns, comments or objections to the program must
              state those in writing to Board Staff 1.vithin 45 calendar days of notification of the
              proposed program. If a community or technical college wishes to express concerns
              about a proposed associate degree, the president or chief academic officer shall
              address such concerns in writing to the Board staff within 45 calendar days of
              notification of the proposed program. During the 45 calendar day calendar comment
              period, the list of concerns, comments and objections will be compiled by Board
              staff and forwarded to the state university for follow-up. The state university
              proposing the program is expected to communicate with other institutions filing
              concerns, comments or objections to minimize or eliminate the identified
              issues. Final proposals must include evidence that concerns, comments or
              objections have been addressed. This process is designed to make the approval
              process more transparent, improve proposals and reduce potential conflict related to
              unnecessary duplication. The 45 calendar day calendar comment period shall run
              concurrently with the approval procedures for new academic program proposals.

              The Board President and Chief Executive Officer, or designee, shall determine if
              each proposed program is similar to others in the state and may serve the same
              potential student population. A similar program is one that has a like CIP code, title,
              content or competencies. If the President and Chief Executive Officer, or designee,
              determines that one or more similar programs exist, the following information
              included in the program proposal narrative shall be taken into account: the
              ability/inability to offer the program collaboratively, the level of student interest in
              the program, existing and future labor market demand, and availability of clinical
              sites, if applicable.

              Board staff shall compile, analyze and make recommendations to the Board on the
              information provided in the program proposal narrative. The recommendations and
              information provided shall be reviewed by the Board Academic Affairs Standing
              Committee to determine whether the program represents unnecessary program
              duplication before forwarding the proposal to the full Board for action.

CHANGES TO ADMISSION REQUIREMENTS - KU
Jean Redeker, KU's Assistant Vice Provost for Academic Affairs, introduced the University of
Kansas' proposed changes to its qualified admission requirements. Dr. Redeker stated that KU
currently offers two guaranteed admission options for freshmen applications received by February
1st: 1) applicants with at least a score of 21 on the ACT and a minimum 3.25 cumulative high
school GPA, or 2) applicants with at least a score of24 on the ACT and a minimum 3.0 cumulative
high school GPA. Both options require that a high school student achieve at least a 2.5 GPA on
any college courses taken in high school. Dr. Redeker noted that last spring, the pandemic caused
ACT/SAT testing sites to close and all in-person ACT/SAT testing appointments were cancelled.
Because ofKU's admission requirements, the University was only able to admit freshmen without
test scores through an existing option outlined in current regulations. That option allows applicants
with no test scores to be admitted through a special review but does not guarantee admission. Dr.
Redeker stated that KU is proposing two options (listed below) that will accommodate applicants
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ADJOURNMENT
The Chair adjourned the meeting at 12:22 p.m.




Blake Flanders, President and CEO                    Bill Feuerborn, Chair
